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                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA                               JS-6
                                 CIVIL MINUTES – GENERAL

 Case No.       CV 18-10188-AG                                    Date      April 1, 2019
 Title          In Re Steven Mark Rosenberg



PRESENT:

          HONORABLE ANDREW J. GUILFORD, UNITED STATES DISTRICT JUDGE

         Melissa Kunig                                           Not Reported
         Deputy Clerk                                            Court Reporter

ATTORNEYS PRESENT FOR PLAINTIFF:                   ATTORNEYS PRESENT FOR DEFENDANT:

         None Present                                            None Present

PROCEEDINGS:          (IN CHAMBERS) ORDER DISMISSING ACTION FOR LACK OF
                      PROSECUTION FOR FAILURE TO COMPLY WITH THE COURT’S
                      ORDER



       This appeal was filed on December 7, 2018. On March 15, 2019, the Court issued a
minute order which ordered Appellant to show cause in writing on or before March 27, 2019
why this action should not be dismissed for lack of prosecution. Appellant has failed to
respond to the Court's Order. Therefore, the Court ORDERS that this action is dismissed
without prejudice for lack of prosecution and for failure to comply with the Orders of the Court.

      The Court further orders the Order to Show Cause [18] issued on March 15, 2019
discharged.


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                                                 Initials of Deputy Clerk    mku
CC:      BANKRUPTCY COURT
         BAP




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